                                               Certificate Number: 15725-AZ-CC-032174677


                                                             15725-AZ-CC-032174677




                    CERTIFICATE OF COUNSELING

I CERTIFY that on January 17, 2019, at 11:14 o'clock PM EST, Corinne
Brailsford received from 001 Debtorcc, Inc., an agency approved pursuant to 11
U.S.C. § 111 to provide credit counseling in the District of Arizona, an individual
[or group] briefing that complied with the provisions of 11 U.S.C. §§ 109(h) and
111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   January 17, 2019                       By:      /s/Maria Avecillas


                                               Name: Maria Avecillas


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).


Case 2:19-bk-00802-BKM        Doc 2 Filed 01/24/19 Entered 01/24/19 11:53:05              Desc
                              Main Document    Page 1 of 1
